                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


DATACLOUD TECHNOLOGIES, LLC,           )
                                       )
                  Plaintiff,           )
                                       ) Civil Action No. 1:21-cv-00164-LPS
v.                                     )
                                       )      Judge Leonard P. Stark
SQUARESPACE, INC.,                     )
                                       )
                  Defendant.           )
_______________________________________)______________________________________

                            STIPULATED PROTECTIVE ORDER

       1.      PURPOSES AND LIMITATIONS

       Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

Protective Order. The parties acknowledge that this Order does not confer blanket protections on

all disclosures or responses to discovery and that the protection it affords from public disclosure

and use extends only to the limited information or items that are entitled to confidential treatment

under the applicable legal principles. The parties further acknowledge that they will follow the

local rules of the court when seeking permission from the court to file material under seal.
2.      DEFINITIONS

        2.1     Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.

        2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c).

        2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).

        2.4     Designating Party: a Party or Non-Party that designates information or items that

it produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

SOURCE CODE.”

        2.5     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

        2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to

the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or

as a consultant in this action, (2) is not a past employee of a Party or of a Party’s competitor

whose employment for the same ended within five (5) years of the time of retention, and (3) at

the time of retention, is not a current employee or anticipated to become an employee of a Party

or of a Party’s competitor.
         2.7    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

less restrictive means.

         2.8    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

extremely sensitive “Confidential Information or Items” representing computer code and

associated comments and revision histories, disclosure of which to another Party or Non-Party

would create a substantial risk of serious harm that could not be avoided by less restrictive

means.

         2.9    House Counsel: attorneys who are employees of a party to this action. House

Counsel does not include Outside Counsel of Record or any other outside counsel.

         2.10   Non-Party: any natural person, partnership, corporation, association, or other legal

entity not named as a Party to this action.

         2.11   Outside Counsel of Record: attorneys who are not employees of a party to this

action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.

         2.12   Party: any party to this action, including all of its officers, directors, employees,

consultants, retained experts, and Outside Counsel of Record (and their support staffs).

         2.13   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.
       2.14    Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

       2.15    Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

“HIGHLY CONFIDENTIAL – SOURCE CODE.”

       2.16    Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

3.     SCOPE

       The protections conferred by this Order cover not only Protected Material (as defined

above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

excerpts, summaries, or compilations of Protected Material; and (3) any testimony, conversations,

or presentations by Parties or their Counsel that might reveal Protected Material. However, the

protections conferred by this Order do not cover the following information: (a) any information

that is in the public domain at the time of disclosure to a Receiving Party or becomes part of the

public domain after its disclosure to a Receiving Party as a result of publication not involving a

violation of this Order, including becoming part of the public record through trial or otherwise;

and (b) any information known to the Receiving Party prior to the disclosure or obtained by the

Receiving Party after the disclosure from a source who obtained the information lawfully and

under no obligation of confidentiality to the Designating Party. Any use of Protected Material at

trial shall be governed by a separate agreement or order.
4.      DURATION

        Even after final disposition of this litigation, the confidentiality obligations imposed by this

Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims

and defenses in this action, with or without prejudice; and (2) final judgment herein after the

completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

including the time limits for filing any motions or applications for extension of time pursuant to

applicable law.

 5.     DESIGNATING PROTECTED MATERIAL

        5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care

to limit any such designation to specific material that qualifies under the appropriate standards.

To the extent it is practical to do so, the Designating Party must designate for protection only

those parts of material, documents, items, or oral or written communications that qualify – so

that other portions of the material, documents, items, or communications for which protection is

not warranted are not swept unjustifiably within the ambit of this Order.

        Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary expenses

and burdens on other parties) may expose the Designating Party to sanctions.

        If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection at all or do not qualify for the level of protection initially

asserted, that Designating Party must promptly notify all other parties that it is withdrawing the
mistaken designation.

       5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

               (a)      For information in documentary form (e.g., paper or electronic documents,

but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains protected

material. If only a portion or portions of the material on a page qualifies for protection, the

Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

markings in the margins) and must specify, for each portion, the level of protection being asserted.

               A Party or Non-Party that makes original documents or materials available for

inspection need not designate them for protection until after the inspecting Party has indicated

which material it would like copied and produced. During the inspection and before the

designation, all of the material made available for inspection shall be deemed “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the

documents it wants copied and produced, the Producing Party must determine which documents,

or portions thereof, qualify for protection under this Order. Then, before producing the specified

documents, the Producing Party must affix the appropriate legend (“CONFIDENTIAL,”

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

– SOURCE CODE”) to each page that contains Protected Material. If only a portion or portions
of the material on a page qualifies for protection, the Producing Party also must clearly identify

the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify,

for each portion, the level of protection being asserted.

               (b)     for testimony given in deposition or in other pretrial or trial proceedings,

that the Designating Party identify on the record, before the close of the deposition, hearing, or

other proceeding, all protected testimony and specify the level of protection being asserted. When

it is impractical to identify separately each portion of testimony that is entitled to protection and it

appears that substantial portions of the testimony may qualify for protection, the Designating Party

may invoke on the record (before the deposition, hearing, or other proceeding is concluded) a right

to have up to 21 days to identify the specific portions of the testimony as to which protection is

sought and to specify the level of protection being asserted. Only those portions of the testimony

that are appropriately designated for protection within the 21 days shall be covered by the

provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify, at

the deposition or up to 21 days afterwards if that period is properly invoked, that the entire

transcript shall be treated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

       Parties shall give the other parties notice if they reasonably expect a deposition, hearing or

other proceeding to include Protected Material so that the other parties can ensure that only

authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

(Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

shall not in any way affect its designation as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL

– ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
       Transcripts containing Protected Material shall have an obvious legend on the title page

that the transcript contains Protected Material, and the title page shall be followed by a list of all

pages (including line numbers as appropriate) that have been designated as Protected Material and

the level of protection being asserted by the Designating Party. The Designating Party shall inform

the court reporter of these requirements. Any transcript that is prepared before the expiration of a

21-day period for designation shall be treated during that period as if it had been designated

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise

agreed. After the expiration of that period, the transcript shall be treated only as actually

designated.

               (c)     for information produced in some form other than documentary and for any

other tangible items, that the Producing Party affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend “CONFIDENTIAL,”

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

– SOURCE CODE.” If only a portion or portions of the information or item warrant protection,

the Producing Party, to the extent practicable, shall identify the protected portion(s) and specify

the level of protection being asserted.

       5.4     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the Designating Party’s

right to secure protection under this Order for such material. Upon timely correction of a

designation, the Receiving Party must make reasonable efforts to assure that the material is

treated in accordance with the provisions of this Order.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     A Party may request in writing to the other Party that the designation given to any
designated material be modified or withdrawn. If the designating Party does not agree to

redesignation within ten (10) days of receipt of the written request, the requesting Party may apply

to the Court for relief. Upon any such application to the Court, the burden shall be on the

designating Party to show why its classification is proper. In making such application, the

requirements of the Federal Rules of Civil Procedure and the Local Rules of the Court shall be

met. Pending the Court’s determination of the application, the designation of the designating Party

shall be maintained.

7.      ACCESS TO AND USE OF PROTECTED MATERIAL

        7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

produced by another Party or by a Non-Party in connection with this case only for prosecuting,

defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

the categories of persons designated in this Section 7 and under the conditions described in this

Order. When the litigation has been terminated, a Receiving Party must comply with the provisions

of section 15 below (FINAL DISPOSITION).

        Protected Material must be stored and maintained by a Receiving Party at a location and in

a secure manner that ensures that access is limited to the persons authorized under this Order.

        7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

information or item designated “CONFIDENTIAL” only to:

                (a)     the Receiving Party’s Outside Counsel of Record in this action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this litigation;

                (b)     the officers, directors, and employees (including House Counsel) of the
Receiving Party to whom disclosure is reasonably necessary for this litigation and who have signed

the “Acknowledgement and Agreement to Be Bound” that is attached hereto as Exhibit A;

                (c)     Experts (as defined in this Order) of the Receiving Party (1) to whom

disclosure is reasonably necessary for this litigation, (2) who have signed the “Acknowledgment

and Agreement to Be Bound” (Exhibit A), and (3) as to whom the procedures set forth in section

7.4, below, have been followed;

                (d)     the court and its personnel;

                (e)     Professional Vendors to whom disclosure is reasonably necessary for this

litigation;

                (f)     during their depositions, witnesses in the action to whom disclosure is

reasonably necessary; and

                (g)     the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information.

        7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

Information or Items. Unless otherwise ordered by the court or permitted in writing by the

Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

                (a)     the Receiving Party’s Outside Counsel of Record in this action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this litigation;

                (b)     One (1) designated House Counsel of the Receiving Party to whom

disclosure is reasonably necessary for this litigation, where the name of the designated House

Counsel has been provided to the Producing Party and the designated House counsel has signed
the “Acknowledgment and Agreement to Be Bound” (Exhibit A).

                  (c)    Experts of the Receiving Party (1) to whom disclosure is reasonably

necessary for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be

Bound” (Exhibit A), and (3) as to whom the procedures set forth in section 7.4, below, have been

followed;

                  (d)    the court and its personnel;

                  (e)    court reporters and their staff;

                  (f)    Professional Vendors to whom disclosure is reasonably necessary for this

litigation; and

                  (g)    the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information.

       7.4        Procedures for     Approving     or   Objecting   to   Disclosure   of   “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE” Information or Items to designated House Counsel and Experts.

                  (a) Unless otherwise ordered by the court or agreed to in writing by the Designating

Party, a Party that seeks to disclose to designated House Counsel or an Expert (as defined in this

Order) any information or item that has been designated “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to

paragraph 7.3(c) first must make a written request via e-mail to the Designating Party that (1) sets

forth the full name of the designated House Counsel or Expert and the city and state of his or her

primary residence, (2) attaches a copy of designated House Counsel’s or the Expert’s current

resume, and as it further pertains to an Expert, (3) identifies the Expert’s current employer(s), and

(4) identifies (by name and number of the case, filing date, and location of court) any litigation in
connection with which the Expert has offered expert testimony, including through a declaration,

report, or testimony at a deposition or trial, during the preceding five years. If the Expert believes

any of this information is subject to a confidentiality obligation to a third-party, then the Expert

should provide whatever information the Expert believes can be disclosed without violating any

confidentiality agreements, and the Party seeking to disclose to the Expert shall be available to

meet and confer with the Designating Party regarding any such engagement.

               (b)     Provided that the other criteria for disclosure to designated House Counsel

and Experts under Section 7.3(c) are satisfied, a Party that makes a request and provides the

information specified in Section 7.4(a) may disclose after 7 days of delivering the request the

subject Protected Material to the identified designated House Counsel or Expert unless, within 7

days of delivering the request, the Party receives a written objection from the Designating Party.

Any such objection must set forth in detail the grounds on which it is based.

                (c)    A Party that receives a timely written objection must meet and confer with

the Designating Party (through direct voice to voice dialogue) to try to resolve the matter by

agreement within seven days of the written objection. If no agreement is reached, the Party seeking

to make the disclosure to designated House Counsel or the Expert may file a motion seeking

permission from the court to do so. Any such motion must describe the circumstances with

specificity, set forth in detail the reasons why the disclosure to the designated House Counsel or

Expert is reasonably necessary, assess the risk of harm that the disclosure would entail, and suggest

any additional means that could be used to reduce that risk.

       In any such proceeding, the Party opposing disclosure to the designated House Counsel or

Expert shall bear the burden of proving that the risk of harm that the disclosure would entail (under

the safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material
to its Expert.

8.      PROSECUTION BAR

        Absent written consent from the Producing Party, any individual who reviews or otherwise

gains knowledge of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” technical

information or “HIGHLY CONFIDENTIAL – SOURCE CODE” information shall not be

involved in the prosecution of patents or patent applications relating to the subject matter of the

patents-in-suit as well as the subject matter of the “HIGHLY CONFIDENTIAL - SOURCE

CODE” and “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” technical information

received, including without limitation the patents asserted in this action and any patent or

application claiming priority to or otherwise related to the patents asserted in this action, before

any foreign or domestic agency, including the United States Patent and Trademark Office (“the

Patent Office”). For purposes of this paragraph, “prosecution” includes directly or indirectly

drafting, amending, advising, or otherwise affecting the scope or maintenance of patent claims.

To avoid any doubt, “prosecution” as used in this paragraph does not include representing a party:

(i) challenging a patent in any contested proceeding before a domestic or foreign agency

(including, but not limited to, a reissue protest, interference, post grant review, ex parte

reexamination or inter partes review); or (ii) defending such a challenge, provided such defense

does not include directly or indirectly drafting or amending patent claims. This Prosecution Bar

shall begin when access to “HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY”

technical information or “HIGHLY CONFIDENTIAL - SOURCE CODE” information is first

received by the affected individual and shall end one (1) year after final termination of this action.

9.      SOURCE CODE AND DISCLOSURE OF “HIGHLY CONFIDENTIAL – SOURCE
        CODE” PROTECTED MATERIAL

        (a)      To the extent production of source code becomes necessary in this case, a
Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”

if it comprises or includes confidential, proprietary, or trade secret source code.

       (b)     Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE CODE”

shall be subject to at least all of the protections afforded to “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” information, but may be disclosed only to the individuals set forth

in Paragraphs 7.3(a) (Outside Counsel of Record and employees of Outside Counsel of Record to

whom disclosure is reasonably necessary for this litigation), 7.3(c) (Experts), 7.3(d) (the court and

its personnel), 7.3(e) (court reporters and their staff), and 7.3(g) (author or recipient of document),

subject to the restrictions of Section 7, including Paragraph 7.4.

       (c)     Any source code produced in discovery shall be made available for inspection in a

format through which it could be reasonably reviewed and searched during normal business hours

or other mutually agreeable times at an office of the Producing Party’s counsel or another mutually

agreed upon location. Prior to the first access by the Receiving Party of the source code, the

Receiving Party must provide notice to the Producing Party at least seven (7) business days prior

to the date that the Receiving Party seeks to review of the source code. After the first access of

the source code by the Receiving Party, the Receiving Party must provide notice to the Producing

Party at least three (3) business days prior to the source code access. The source code shall be

made available for inspection on a secured computer in a secured room without Internet access or

network access to other computers, and the Receiving Party shall not copy, remove, or otherwise

transfer any portion of the source code onto any recordable media or recordable device. During

the course of all inspections of source code, the Producing Party shall provide a manifest of the

contents of the secured computer. This manifest, which will be supplied in both printed and

electronic form, will list the name, location, and MD5 checksum of every source and executable
file located on the computer. The secured computer shall include software utilities which will

allow the Receiving Party to view, search, and analyze the source code. At a minimum, these

utilities must provide the ability to (a) view, search, and line-number any source file, (b) search

for a given pattern of text through a number of files, (c) compare two files and display their

differences, and (d) compute the MD5 checksum of a file. The Receiving Party is not permitted to

bring any additional devices (e.g., cellular phones or computers) into the secured room that would

allow it to electronically copy portions of the source code, except as otherwise provided herein.

The Producing Party may visually monitor the activities of the Receiving Party’s representatives

during any source code review, but only to ensure that there is no unauthorized recording, copying,

or transmission of the source code. The Producing Party may maintain a log identifying: (a) the

name of each person who accessed the secure room; (b) the date and time of access; (c) the length

of time of access; and (d) whether any pages were printed. The Producing Party may also retain

copies of any printed pages of the source code.

       (d)     The Receiving Party may request paper copies of portions of source code that are

reasonably necessary for the preparation of court filings, pleadings, expert reports, or other papers,

or for deposition or trial, but shall not request paper copies for the purposes of reviewing the source

code other than electronically as set forth in paragraph (c) in the first instance. Requests for paper

copies that exceed 20 consecutive printed pages, or that cumulatively exceed 300 printed pages,

shall be presumed to be unreasonable. The Producing Party shall provide all such source code in

paper form including bates numbers and the label “HIGHLY CONFIDENTIAL - SOURCE

CODE.” The Producing Party may challenge the amount of source code requested in hard copy

form pursuant to the dispute resolution procedure and timeframes set forth in Paragraph 6 whereby

the Producing Party is the “Challenging Party” and the Receiving Party is the “Designating Party”
for purposes of dispute resolution.

       (e)     The Receiving Party shall maintain a record of any individual who has inspected

any portion of the source code in electronic or paper form and make it available to the Producing

Party at the Producing Party’s request. The Receiving Party shall maintain all paper copies of any

printed portions of the source code in secured, locked areas, and shall not make any additional

paper copies beyond those provided by the Producing Party, except as otherwise noted below. No

paper copies of any printed portions of source code shall be destroyed or otherwise disposed of

without prior written consent of the Producing Party. The Receiving Party shall not create any

electronic or other images of the paper copies and shall not convert any of the information

contained in the paper copies into any electronic format. The Receiving Party may only include in

court filings or expert reports those lines of source code that are relevant to the prosecution or

defense of this case, and any such document, court filing, or expert report must be designated

“HIGHLY CONFIDENTIAL – SOURCE CODE.” The Receiving Party shall only make

additional paper copies if such additional copies are: (1) necessary to prepare court filings,

pleadings, or other papers (including a testifying expert’s expert report)or (2) necessary for

deposition. To the extent any additional paper copies are made, the Receiving Party must keep a

record of such copies (listing at least the date the copies were made, the number of copies made,

and the individuals who made the copies) and make this record available to the Producing Party at

the Producing Party’s request. Any paper copies used during a deposition shall be retrieved by the

Producing Party at the end of each day and must not be given to or left with a court reporter or any

other unauthorized individual.
10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
       OTHER LITIGATION

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL,” “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

CODE,” that Party must:

       (a)     promptly notify in writing the Designating Party. Such notification shall include a

copy of the subpoena or court order;

       (b)     promptly notify in writing the party who caused the subpoena or order to issue in

the other litigation that some or all of the material covered by the subpoena or order is subject to

this Protective Order. Such notification shall include a copy of this Stipulated Protective Order;

and

       (c)     cooperate with respect to all reasonable procedures sought to be pursued by the

Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the subpoena

or court order shall not produce any information designated in this action as “CONFIDENTIAL,”

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

– SOURCE CODE” before a determination by the court from which the subpoena or order issued,

unless the Party has obtained the Designating Party’s permission. The Designating Party shall bear

the burden and expense of seeking protection in that court of its confidential material – and nothing

in these provisions should be construed as authorizing or encouraging a Receiving Party in this

action to disobey a lawful directive from another court.

11.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
       THIS LITIGATION

       (a)     The terms of this Order are applicable to information produced by a Non-Party in
this action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such information produced

by Non-Parties in connection with this litigation is protected by the remedies and relief provided

by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party from

seeking additional protections.

       (b)     In the event that a Party is required, by a valid discovery request, to produce a Non-

Party’s confidential information in its possession, and the Party is subject to an agreement with the

Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

               1.      promptly notify in writing the Requesting Party and the Non-Party that

some or all of the information requested is subject to a confidentiality agreement with a Non-Party;

               2.      promptly provide the Non-Party with a copy of the Stipulated Protective

Order in this litigation, the relevant discovery request(s), and a reasonably specific description of

the information requested; and

               3.      make the information requested available for inspection by the Non-Party.

       (c)     If the Non-Party fails to object or seek a protective order from this court within

fourteen (14) days of receiving the notice and accompanying information, the Receiving Party may

produce the Non-Party’s confidential information responsive to the discovery request. If the Non-

Party timely seeks a protective order, the Receiving Party shall not produce any information in its

possession or control that is subject to the confidentiality agreement with the Non-Party before a

determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

burden and expense of seeking protection in this court of its Protected Material.

12.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
Material to any person or in any circumstance not authorized under this Order, the Receiving Party

must immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b)

use its best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the

person or persons to whom unauthorized disclosures were made of all the terms of this Order, and

(d) request such person or persons to execute the “Acknowledgment and Agreement to Be Bound”

that is attached hereto as Exhibit A.

13.    INADVERTENT PRODUCTION                      OF      PRIVILEGED          OR     OTHERWISE
       PROTECTED MATERIAL

       When a Producing Party gives notice to Receiving Parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). If information

is produced in discovery that is subject to a claim of privilege or other applicable protection or

immunity, the party making the claim may notify any party that received the information of the

claim and the basis for it. After being notified, a party must promptly return or destroy the specified

information and any copies it has and may not sequester, use or disclose the information until the

claim is resolved. This provision is not intended to modify whatever procedure may be established

in an e-discovery order that provides for production without prior privilege review. Pursuant to

Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of

disclosure of a communication or information covered by the attorney-client privilege or work

product protection, the parties may incorporate their agreement in the stipulated protective order

submitted to the court.
14.     MISCELLANEOUS

        14.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

        14.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

Party waives any right to object on any ground to use in evidence of any of the material covered

by this Protective Order.

        14.3    Export Control. Disclosure of Protected Material shall be subject to all applicable

laws and regulations relating to the export of technical data contained in such Protected Material,

including the release of such technical data to foreign persons or nationals in the United States or

elsewhere. The Producing Party shall be responsible for identifying any such controlled technical

data, and the Receiving Party shall take measures necessary to ensure compliance.

        14.4    Filing Protected Material. Without written permission from the Designating Party,

the granting of which shall not be unreasonably withheld, or a court order secured after appropriate

notice to all interested persons, a Party may not file in the public record (i.e., not under seal) in this

action any Protected Material. A Party that seeks to file under seal any Protected Material must

comply with the local rules of the Court.

15.     FINAL DISPOSITION

        Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such material,

with the exception of any paper copies of material designated “HIGHLY CONFIDENTIAL -

SOURCE CODE,” which shall be returned to the Producing Party, along with the required records
kept by the Receiving Party under Section 9. As used in this subdivision, “all Protected Material”

includes all copies, abstracts, compilations, summaries, and any other format reproducing or

capturing any of the Protected Material. Whether the Protected Material is returned or destroyed,

each Receiving Party must submit a written certification to the Producing Party (and, if not the

same person or entity, to the Designating Party) by the 60-day deadline that (1) identifies the

Protected Material that was returned or destroyed and (2) affirms that the applicable Receiving

Party has not retained any copies, abstracts, compilations, summaries or any other format

reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel

are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,

attorney work product, and consultant and expert work product, even if such materials contain

Protected Material. Any such archival copies that contain or constitute Protected Material remain

subject to this Protective Order as set forth in paragraph 4 (DURATION).

16.    OTHER PROCEEDINGS

       By entering this order and limiting the disclosure of information in this case, the Court

does not intend to preclude another court from finding that information may be relevant and

subject to disclosure in another case. Any person or party subject to this order who becomes

subject to a motion to disclose another party’s information designated “CONFIDENTIAL,”

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

– SOURCE CODE,” pursuant to this order shall promptly notify that party of the motion so that

the party may have an opportunity to appear and be heard on whether that information should be

disclosed.

       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                                EXHIBIT A

                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, _________________________________ [print or type full name], of _________________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and understand

the Stipulated Protective Order that was issued by the United States District Court for the District of

Delaware on [date] in the case of ___________ Inc. v. Squarespace, Inc., Case No. _____________. I agree

to comply with and to be bound by all the terms of this Stipulated Protective Order and I understand and

acknowledge that failure to so comply could expose me to sanctions and punishment in the nature of

contempt. I solemnly promise that I will not disclose in any manner any information or item that is subject

to this Stipulated Protective Order to any person or entity except in strict compliance with the provisions of

this Order.

        I further agree to submit to the jurisdiction of the United States District Court for the District of

Delaware for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

enforcement proceedings occur after termination of this action.

        I     hereby   appoint   __________________________           [print   or   type   full   name]    of

_______________________________________ [print or type full address and telephone number] as my

Delaware agent for service of process in connection with this action or any proceedings related to

enforcement of this Stipulated Protective Order.



Date: _________________________________

City and State where sworn and signed: _________________________________

Printed name: ______________________________
               [printed name]

Signature: __________________________________
               [signature]
Dated: February 24, 2022              Respectfully submitted,

                                      Stamoulis & Weinblatt, LLC

                                      /s/ Stamatios Stamoulis
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                     Attorneys for Plaintiff DataCloud Technologies, LLC
# e-signed with express permission

                                                                     * admitted pro hac vice
Dated: February 24, 2022               Respectfully submitted,

                                       FARNAN LLP

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                          Attorneys for Defendant Squarespace, Inc.
# e-signed with express permission
                                                                      * admitted pro hac vice
                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the above documents with the Clerk

of Court using CM/ECF which will send electronic notification of such filings to all registered

counsel.

Date: February 24, 2022                      /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis #4606
                                  [PROPOSED] ORDER

      PURSUANT TO STIPULATION, IT IS SO ORDERED.



DATED: ________________________        _____________________________________
                                       UNITED STATES DISTRICT JUDGE
